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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                    )       Case No.: 4:12 CR 307-04
                                             )
       Plaintiff                             )       JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )
ALEXIS PEREZ, aka Scar,                      )
                                             )
       Defendant                             )       ORDER



       On July 17, 2012, the above-mentioned case was referred to Magistrate Judge George J.

Limbert for all matters concerning any issues or motions regarding the court’s jurisdiction as to

Defendant Perez, and to prepare a report and recommendation.

        On July 18, 2012, the Defendant, with his appointed legal advisor, Attorney Nathan Ray,

appeared before Magistrate Judge Limbert for an arraignment hearing. The Court entered a not

guilty plea to all counts as to Defendant Perez and held a hearing on jurisdiction. Magistrate

Judge Limbert issued a Report and Recommendation, recommending that this court has subject

matter jurisdiction and deny Defendant’s Motion (ECF No. 41).

       The court hereby adopts the Magistrate’s Report and Recommendation (ECF No. 45),

denies Defendant’s Motion (ECF No. 41) and finds that this court has subject matter jurisdiction.

       IT IS SO ORDERED.

                                             /s/SOLOMON OLIVER, JR.
                                             CHIEF JUDGE
                                             UNITED STATES DISTRICT COURT
August 7, 2012
